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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division



 IN RE: INTERIOR MOLDED DOORS                        Lead Civil Action No. 3:18-cv-00718-JAG
 ANTITRUST LITIGATION



                  SECOND AMENDED CONSOLIDATED COMPLAINT

       Plaintiffs Grubb Lumber Company, Inc. (“Grubb Lumber”), Len-Co Lumber Corp.

(“Len-Co”) and Philadelphia Reserve Supply Company (“PRSCO”) (collectively, “Plaintiffs”)

bring this action on their own behalf and on behalf of all others similarly situated, to recover

treble damages and other appropriate relief based on Defendants’ violations of Section 1 of the

Sherman Act, 15 U.S.C. § 1. In support of this Second Amended Consolidated Complaint

(“Complaint”), Plaintiffs allege, with knowledge as to their own acts and those taking place in

their presence and upon information and belief as to all other matters, as follows:

                                 I.     NATURE OF ACTION

       1.      This case challenges Defendants’ collusive pricing and illegal scheme for

“interior molded doors” in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1. Interior

molded doors are a type of interior door made by sandwiching a wood frame and a hollow or

solid core between two doorskins composed of a high-density fibrous mat and formed into a

raised panel design. Interior molded doors attempt to simulate the aesthetics of solid wood doors

at lower prices, and are the most popular type of interior door in North America.

       2.      Doorskins constitute the largest input cost of an interior molded door, comprising

up to 70% of the cost of manufacturing a molded door. Defendants Masonite Corporation

(“Masonite”), JELD-WEN, Inc. and JELD-WEN Holding, Inc. (collectively “Jeld-Wen”) are



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vertically-integrated manufacturers, i.e., they manufacture both doorskins as well as interior

molded doors. Defendants control approximately 85% of the market for interior molded doors,

and are the only manufacturers of doorskins, the primary component of interior molded doors, in

North America. Being the only two vertically-integrated interior molded door manufacturers in

the U.S., Jeld-Wen and Masonite have dominant power in that market.

           3.    Historically, the market contained at least one significant non-integrated

manufacturer of doorskins, Masonite, at least one significant non-integrated manufacturer of

interior molded doors, Premdor, Inc., and numerous other non-integrated interior molded door

manufacturers.

           4.    Recognizing there was a strong incentive by door manufacturers to collude to

increase the price of interior molded doors, in 2001 the U.S. Department of Justice (“DOJ”)

permitted Premdor, Inc. to acquire Masonite (and form a newly-integrated manufacturer of both

doorskins and interior molded doors) only on the condition that Premdor/Masonite divest a

doorskin manufacturing plant in Towanda, Pennsylvania to a new entity, CraftMaster, Inc.

(“CMI”).

           5.    In 2012, however, Jeld-Wen acquired CMI, thereby eliminating the check on

competition established when the DOJ required Masonite to divest CMI more than a decade

earlier.

           6.    In the wake of that merger and in furtherance of the conspiracy alleged herein,

Defendants jointly sought to eliminate competition by stopping their longstanding practice of

supplying doorskins to smaller interior molded door manufacturers. Because doorskins are a

necessary component of interior molded doors, any lessening of competition in the doorskins




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market necessarily results in a lessening of competition in the interior molded doors market,

thereby injuring Plaintiffs and Class members.

       7.      In furtherance of the conspiracy, Masonite announced in 2014 it would no longer

sell doorskins to other door manufacturers. This unprecedented shift in business practice was

plainly against Masonite’s own economic interests, as it handed over that entire market to Jeld-

Wen. Further evidence that Masonite acted against its economic interests when it stopped selling

doorskins is that it did so at a time when Jeld-Wen’s doorskins were of poor quality.

       8.      Around the same time, Jeld-Wen began taking adverse actions against third-party

door manufacturers with which it had long-term supply agreements for doorskins by, among

other things, raising prices notwithstanding its own declining costs. It also notified at least one

third-party manufacturer that it would prematurely terminate its supply agreement, contrary to

the terms of the agreement. Jeld-Wen’s conduct undermined the ability of independent

manufacturers to compete with Defendants in the sale of interior molded doors.

       9.      This market structure, established through consolidation and Defendants’

coordinated conduct as alleged herein, has enabled Defendants to repeatedly impose uniform

price increases in the interior molded door market without any competitive constraints.

       10.     Defendants communicated regularly regarding their pricing intentions. Numerous

high-ranking executives from Masonite and Jeld-Wen had worked at the other company at one

point and had close relationships dating back to the 1980s. In fact, decisions on pricing at

Masonite were made after one of its vice presidents, who had significant influence with upper

management and participated in the company’s pricing discussions, went on business trips and

returned with knowledge of Jeld-Wen’s planned price increases. On his return from such trips,

the vice president always knew what Jeld-Wen’s price increases would be before the price




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increases were publicly announced. Also, at least from 2012 to the vice president’s departure

from Masonite in 2014, Masonite never undercut Jeld-Wen’s prices for interior molded doors.

This was the case even when Masonite’s profit margin could have withstood a lower sale price to

earn more market share.

       11.     As it discussed in its annual reports, during this time Jeld-Wen shifted from a

strategy that focused on increasing market share, which often led to price competition, to a new

strategy Jeld-Wen characterized as pricing optimization. When sales forces have incentives to

pursue increases in market share, such incentives can run counter to cartel activity. For this

reason, a shift away from a pricing policy focused on increasing market share can be indicative

of a conspiracy.

       12.     Defendants’ price increases cannot rationally be explained by normal market

forces, such as rising key input costs or supply and demand factors. Key input costs for raw

materials, such as wood, resin, wax, oil, sealer, paint, and packaging, and for energy, such as

electric power prices, natural gas prices, and boiler fuel, decreased while Defendants increased

their prices. Masonite employees analyzed data and ran pricing scenarios based on market

factors, such as the price of raw materials, transportation costs, and expected demand, and were

often surprised to learn that the company’s top executives intended to impose price increases that

were substantially in excess of what they believed the market would accept.

       13.     The interior molded door market possesses characteristics that are well recognized

to enable and facilitate collusion in such a way that would inflict widespread harm on Class

members (defined below), including the fact that (a) it is highly concentrated, with Defendants

controlling 85% of the market, (b) there are significant barriers to entry, (c) there are no

economic substitutes for interior molded doors, (d) interior molded doors are standardized




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products with a high degree of interchangeability, and (e) there are ample opportunities to

conspire through trade associations and other meetings. In addition, there is a history of collusion

in the residential door industry generally – with Defendants or their predecessors having pled

guilty to antitrust violations in the 1990s – and as to Defendants specifically, as alleged herein at

¶ 81.

        14.    These collusive pricing practices have harmed Plaintiffs and Class members,

which paid more for interior molded doors than they would have paid absent Defendants’

unlawful collusive conduct.

                                      II.     THE PARTIES

        15.    Plaintiff Grubb Lumber is a Delaware corporation with its principal place of

business in Wilmington, Delaware. Grubb Lumber purchased interior molded doors directly

from Defendants during the Class Period (defined below).

        16.    Plaintiff Len-Co Lumber Corp. is a New York corporation with its principal place

of business in Buffalo, New York. Len-Co purchased interior molded doors directly from a

subsidiary of Defendant JELD-WEN Holding, Inc. during the Class Period (defined below).

        16(a). Plaintiff Philadelphia Reserve Supply Company (“PRSCO”) is a Pennsylvania

corporation with its principle place of business in Croydon, Pennsylvania. PRSCO purchased

interior molded doors directly from Defendants during the Class Period (defined below).

        17.    Defendant Masonite is a corporation organized under the laws of Delaware.

Masonite’s principal place of business is One Tampa City Center, 201 North Franklin Street,

Suite 300, Tampa, Florida 33602. Masonite is a wholly owned subsidiary of Masonite

International Corporation. Masonite is registered with the Virginia State Corporation

Commission as a foreign corporation and maintains a registered agent in Virginia.




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       18.     Defendant JELD-WEN, Inc. is a corporation organized under the laws of

Delaware. JELD-WEN, Inc.’s principal place of business is 2645 Silver Crescent Drive,

Charlotte, North Carolina 28273. JELD-WEN, Inc. is a wholly-owned subsidiary of Defendant

JELD-WEN Holding, Inc. JELD-WEN, Inc. is registered with the Virginia State Corporation

Commission as a foreign corporation and maintains a registered agent in Virginia.

       19.     Defendant JELD-WEN Holding, Inc. is a corporation organized under the laws of

Delaware. JELD-WEN Holding, Inc.’s principal place of business is 2645 Silver Crescent Drive,

Charlotte, North Carolina 28273. JELD-WEN Holding, Inc. is the direct parent company of

Defendant JELD-WEN, Inc. JELD-WEN Holding, Inc. is liable for the conspiracy alleged herein

by virtue of its direct participation in the conspiracy, and by and through JELD-WEN, Inc.,

which acted as JELD-WEN Holding, Inc.’s alter ego or agent. See infra § VI.D.

                                III.   JURISDICTION AND VENUE

       20.     Plaintiffs bring this action under Sections 4 and 16 of the Clayton Act, 15 U.S.C.

§§ 15 and 26, to recover treble damages and costs of suit, including reasonable attorneys’ fees,

against Defendants for the injuries Plaintiffs and the other Class members have suffered from

Defendants’ violations of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       21.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337

and Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26.

       22.     Venue is proper in this District pursuant to 15 U.S.C. §§ 15(a) and 22 and 28

U.S.C. § 1391(b), (c) and (d) because, during the Class Period, Defendants resided, transacted

business, were found, or had agents in this District, and a substantial portion of the affected

interstate trade and commerce discussed below has been carried out in this District.




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          23.   This Court has personal jurisdiction over each Defendant because, among other

things, each Defendant: (a) transacted business throughout the United States, including in this

District; (b) sold interior molded doors throughout the United States, including in this District;

(c) had substantial contacts with the United States, including in this District; (d) was engaged in

an illegal scheme and nationwide price-fixing conspiracy that was directed at, had the intended

effect of causing injury to, and did cause injury to persons residing in, located in, or doing

business throughout the United States, including in this District; and/or (e) took overt action in

furtherance of the conspiracy in this District or conspired with someone who did, and by doing

so could reasonably have expected to be sued in this District.

                                IV.     CLASS ALLEGATIONS

          24.   Plaintiffs bring this action pursuant to Rules 23(a) and 23(b)(3) of the Federal

Rules of Civil Procedure on behalf of a class consisting of:

                All persons or entities that purchased interior molded doors in the
                United States from at least as early as October 24, 2012 through
                the present (the “Class Period”) directly from any of the
                Defendants, their subsidiaries, affiliates or joint-ventures (the
                “Class”).

Excluded from the Class are Defendants, their parent companies, subsidiaries and affiliates, any

co-conspirators, federal governmental entities and instrumentalities of the federal government.

          25.   The Class is so numerous that joinder of all members is impracticable. On

information and belief, hundreds or thousands of individuals and entities geographically

dispersed around the country purchased interior molded doors from Defendants during the Class

Period.

          26.   There are questions of law or fact common to the Class, which predominate over

any questions that may affect individual members of the Class, including:




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               a.      Whether Defendants engaged in a combination or conspiracy to fix, raise,

                       maintain and/or stabilize the prices of interior molded doors in the United

                       States;

               b.      The identity of other participants of the alleged combination or

                       conspiracy, if any;

               c.      The duration of the alleged combination or conspiracy and the acts carried

                       out by Defendants and their co-conspirators, if any, in furtherance of the

                       combination or conspiracy;

               d.      Whether the alleged combination or conspiracy violated the Sherman Act;

               e.      Whether the alleged combination or conspiracy had the effect of

                       artificially inflating the price of interior molded doors sold in the United

                       States during the Class Period;

               f.      Whether Defendants’ conduct caused injury to Class members;

               g.      Whether Defendants undertook actions to conceal their unlawful

                       conspiracy; and

               h.      The measure and amount of damages incurred by the Class.

       27.     Plaintiffs are members of the Class and their claims are typical of the claims or

defenses of the Class. Plaintiffs and all Class members were damaged by Defendants’ actions,

which caused them to pay artificially inflated prices for interior molded doors. There are no

defenses that are unique to Plaintiffs.

       28.     Plaintiffs will fairly and adequately protect the interests of the Class because

Plaintiffs’ interests are coincident with, and not antagonistic to, those of the other Class

members.




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        29.     Plaintiffs are represented by counsel who are capable and experienced in the

prosecution of class action and antitrust litigation.

        30.     Adjudicating the claims of the Class members as a class action is superior to the

alternative, because it promotes the fair and efficient adjudication of the controversy alleged in

this Complaint, while avoiding the risk that the prosecution of separate actions by individual

members of the Class would create inconsistent or varying adjudications, establishing

incompatible standards of conduct for Defendants. This action presents no difficulties in

management that would preclude its maintenance as a class action.

        31.     The Class members are ascertainable either from Defendants’ records or through

self- identification in the claims process.

                      V.      INTERSTATE TRADE AND COMMERCE

        32.     Defendants’ conduct as described in this Complaint was within the flow of, was

intended to, and did have a substantial effect on, the interstate commerce of the United States,

including in this District.

        33.     During the Class Period, Defendants manufactured, sold and/or shipped interior

molded doors in a continuous and uninterrupted flow of interstate commerce. The price-fixing

combination or conspiracy in which Defendants participated had a direct, substantial, and

reasonably foreseeable effect on interstate commerce.

                               VI.     FACTUAL ALLEGATIONS

A.      The Interior Molded Doors Market

        34.     “Interior molded doors” are a type of composite wood door used primarily in

residential construction and remodeling, including the construction and remodeling of multi-




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family and apartment housing, for closets, rooms, and hallways. An interior composite wood

door is made by sandwiching a wood frame and a hollow or solid core between two doorskins.

The doorskins used to manufacture an interior composite wood door generally come in three

types: hardboard, veneered and molded. While some interior doors are made of solid wood, the

vast majority use composite wood materials to create their hollow or solid cores and doorskin

components.

       35.        Interior molded doors, which are the most popular type of interior door in North

America, have two doorskins that are made from a high-density fibrous mat formed into a raised

panel design. Interior molded doors attempt to simulate the aesthetics of solid wood doors at

lower prices. (Unlike interior molded doors, hardboard or veneered doors have a flat surface. The

doorskin of an interior hardboard door is typically a multi-ply facing of wood such as pine, and

the doorskin of an interior veneered door is typically plywood with a thin veneered overlay of a

wood such as birch or oak.)

       36.        Interior molded door manufacturers sell to distributors, building supply outlets,

home centers and lumber yards. Consumers purchasing doors to repair, renovate or remodel an

existing home typically purchase doors from retail building supply outlets. Builders and

contractors purchase doors primarily from distributors, lumber yards, home centers and building

supply outlets.

       37.        The market for interior molded doors is closely connected to the upstream market

for interior molded doorskins. Two doorskins are required for each composite wood door.

Doorskins constitute the largest input cost of an interior molded door, comprising up to 70% of

the cost of manufacturing such a door.




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       38.     Masonite and Jeld-Wen are the only two manufacturers of interior molded

doorskins in the western hemisphere and operate eight of the nine largest doorskin facilities in

the world. Smaller foreign doorskin manufacturers in Turkey, Romania and China, such as

Teverpan, Kastamonu and Yildiz, respectively, are unable to supply doorskins of a sufficient

quantity, quality, and range of product lines necessary to satisfy the needs of U.S. door

manufacturers. As such, Defendants are the only viable source of interior molded doorskins in

the United States.

       39.     Jeld-Wen began manufacturing interior molded doorskins in the early 1970s, and

it has owned and operated nine doorskin manufacturing plants, six of which Jeld-Wen built itself.

In the early 1980s, Jeld-Wen acquired the doorskins division of Weyerhaeuser. From that time

until the 1990s, Jeld-Wen supplied doorskins to domestic manufacturers of interior molded doors

but did not manufacture interior molded doors.

       40.     In or around the 1990s, Jeld-Wen decided to manufacture and sell interior molded

doors as well as doorskins for those doors, making Jeld-Wen vertically integrated.

       41.     Shortly after Jeld-Wen became vertically integrated, it went on a buying spree of

independent interior molded door manufacturers. Among its acquisitions, Jeld-Wen acquired

Michigan Birch Door of Chesterfield, Michigan along with its Doorcraft of Vermont division

based in Ludlow, Vermont. Jeld-Wen also acquired an interior door manufacturing plant in

Hartselle, Alabama from Young Door in 1990, and another from Morgan Door Co. in Oshkosh,

Wisconsin in 1998.

       42.     The other major manufacturer of doorskins was Masonite, which began producing

doorskins in the 1970s. Prior to 2001, Masonite was a subsidiary of International Paper. During

that time, Masonite manufactured doorskins for interior molded doors at plants in Laurel,




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Mississippi and Towanda, Pennsylvania, and sold those doorskins to non-vertically integrated

door manufacturers.

       43.     In September 2000, International Paper sold Masonite to Premdor, Inc. and

Premdor U.S. Holding, Inc. (collectively, “Premdor”), then the largest manufacturer and

merchandiser of interior molded doors in the world. Premdor’s market position was also the

product of an aggressive series of mergers and acquisitions in the late 1980s and 1990s,

including a merger in 1989 with Century Wood Door, a Canadian company that itself had

experienced significant growth, including the acquisition of Crown Door Corp., making it one of

the largest door manufacturers in the United States at the time. Other Premdor acquisitions

included the purchase of The Walled Lake Door Co. of Cameron, Texas in 1992, and the door

fabrication operations of Georgia-Pacific in 1998.

       44.     Thus, by 2000, Masonite and Jeld-Wen dominated the market for the manufacture

of interior molded doorskins, with Masonite alone accounting for more than 50% of the market.

A third entity, Fibramold, a Chilean joint venture in which Premdor had an equity interest,

accounted for less than 10% of the interior molded doorskins used for the manufacture of interior

molded doors in the United States. These were the only three firms with significant sales of

interior molded doorskins in the United States at that time; a small number of other interior

molded doorskins manufacturers each sold less than one percent of the interior molded doorskins

in the United States.

       45.     In 2000, Premdor was the dominant domestic manufacturer of interior molded

doors, with more than a 40% share of that market. Jeld-Wen was the only other large domestic

producer of interior molded doors. Nine other non-vertically integrated molded door

manufacturers each had a market share of less than 5%.




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       46.     In 2001, the DOJ filed a civil antitrust action seeking to block the acquisition of

Masonite by Premdor. As the DOJ explained, allowing Premdor to acquire Masonite’s doorskins

business and create a new vertically-integrated manufacturer would harm competition in the

downstream market for interior molded doors:

               . . . Masonite acts as a significant competitive constraint in the
               interior molded door market. Premdor and the non-party firm
               [Jeld-Wen] have an incentive to attempt to coordinate pricing by
               reducing output. Coordination would reduce the output of interior
               molded doors, and lead to higher door prices. However, such an
               output reduction would also reduce the output of interior molded
               doorskins sold in the United States, harming Masonite. Thus,
               Masonite would have an incentive to disrupt such coordination
               through increased sales to the other non-vertically integrated door
               manufacturers. After the proposed transaction, a vertically
               integrated Premdor/Masonite combination will not have the same
               incentive to defeat coordination in the interior molded door market
               by increasing sales to the non-integrated door manufacturers since
               the combined company would be competing against those door
               manufacturers, and would benefit from an increase in the prices of
               interior molded doors.

       47.     The DOJ further explained that a vertically-integrated Masonite/Premdor would

have an incentive to coordinate with the already vertically-integrated Jeld-Wen:

               Documentary evidence obtained from the defendants suggests that
               the non-party firm, as a fully vertically integrated manufacturer,
               has certain cost advantages over Masonite and Premdor that it has
               used to lower prices to build market share. This differing cost
               structure among the dominant firms is an impediment to
               coordination. The evidence from the defendants suggests that post-
               acquisition, the cost structures of the two vertically integrated
               firms would be more closely aligned, decreasing the opportunity
               for the non-party firm to increase its market share profitably
               through lower prices, and thus increasing the non-party firm’s
               incentive to coordinate with the combined Premdor/Masonite. In
               fact, Masonite recognized that the non-party firm’s incentive to
               gain market share by lowering price would diminish if it faced a
               strong, integrated competitor.

       48.     In order to address these competitive concerns, as a condition for allowing

Premdor to acquire Masonite, the DOJ required Premdor to divest assets related to the


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production of interior molded doorskins at a plant in Towanda, Pennsylvania, as well as an

exclusive right to the “CraftMaster” name and molded doorskin design names, intellectual

property related to the manufacture and sale of interior molded doorskins, a customer list, and

the right to hire Masonite employees.

       49.      This divestiture resulted in the creation of CMI as a stand-alone competitive

force. It was intended to allow CMI to manufacture and sell all the designs and sizes of interior

molded doorskins that Masonite sold at the time in the United States, with the stated aim of

maintaining competition in the domestic interior molded doors market. (As alleged below,

however, this salutary aim was undone by Jeld-Wen’s acquisition of CMI in 2012.)

       50.      After completing the acquisition of Masonite, Premdor changed its name to

Masonite International Corp.

B.     Market Characteristics Conducive to Collusion

       1.       The United States Market for Interior Molded Doors is Conducive to
                Collusion Because it is Controlled by Just Two Producers.

       51.      There has been substantial consolidation among the manufacturers of interior

molded doors.

       52.      After Premdor’s acquisition of Masonite, there was substantial additional

consolidation that eliminated competing doorskin manufacturers. In 2002, Masonite acquired the

remaining interests in Fibramold, which became a wholly-owned subsidiary of Masonite,

renamed Masonite Chile S.A. Fibramold, the joint venture in which Premdor held an equity

interest, was the only other doorskin manufacturer besides Jeld-Wen and Masonite that the DOJ

considered to be significant when evaluating Premdor’s acquisition of Masonite.

       53.      In 2002, Masonite also acquired a majority ownership interest in Sacopan Inc., a

Canadian company that just prior to that time had begun to manufacture wood composite molded



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door facings at a new state-of-the art facility in Sacré-Coeur, Québec. From that time, Sacopan

operated as a subsidiary of Masonite. In 2008, Masonite acquired the remaining interest in

Sacopan.

       54.     Both Premdor (now Masonite) and Jeld-Wen had undergone significant growth by

acquisition in the late 1980s and 1990s. See ¶¶ 41-49, supra. This pattern continued after

Premdor acquired Masonite, with Jeld-Wen, Masonite and the newly formed CMI continuing to

acquire door manufacturers. For example:

               •      In 2005, CMI acquired C&S Door, a door manufacturer founded in 1976

                      with plants in Christiansburg, Virginia, and Ozark, Alabama. As a result

                      of this acquisition, CMI became a vertically-integrated manufacturer.

               •      In February 2010, CMI acquired Illinois Flush Door Co. in Plainfield,

                      Illinois, a manufacturer and distributer of a full line of interior doors,

                      which had been in business since 1944.

               •      In March 2010, Masonite acquired Ledco, Inc. (previously known as Lake

                      Erie Door Company), a premier interior door manufacturer that had been

                      selling door products since 1964, and which had a strong wholesale

                      customer base east of the Rockies.

               •      In October 2010, Masonite acquired Lifetime Doors, Inc., an interior door

                      manufacturer specializing in molded, veneer, prefinished, and bifold doors

                      that had been manufacturing and selling high quality door products since

                      1947.

               •      In October 2012, JELD-WEN, Inc. acquired CMI, the manufacturer and

                      marketer of interior molded doors and doorskins that operated a




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                       manufacturing plant in Towanda, Pennsylvania, which the DOJ required

                       Premdor to divest in 2001 to alleviate competitive concerns arising out of

                       Premdor’s acquisition of Masonite from International Paper.

                •      In August 2017, JELD-WEN Holding, Inc., acquired Milliken Millwork,

                       Inc., a leading provider of doors and related value-added services in the

                       Midwest region of the United States, which was founded in 1953.

                •      In April 2018, JELD-WEN Holding, Inc. acquired American Building

                       Supply, Inc., a provider of doors, millwork, and related value-

                       added services based in Sacramento, California, which was founded in

                       1985.

       55.      This industry consolidation has resulted in Jeld-Wen and Masonite controlling

85% of the interior molded door market, with the rest controlled by a handful of small, regional

interior molded door manufacturers, as demonstrated by this excerpt from a Masonite investor

presentation:




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       56.     Historically, the market for interior molded doors was viewed as regional due to

the presence of locally-focused door manufacturers and variations in shipping costs.

       57.     The consolidation in the industry has eliminated most of those regional

manufacturers and has given Defendants a nationwide footprint, i.e., factories from which to ship

interior molded doors, removing regional variations in pricing.

       58.     The competitive landscape that emerged in the wake of Jeld-Wen’s 2012

acquisition of CMI consisted of two dominant, vertically-integrated door manufacturers with

incentives to collude, which is exactly what the DOJ had warned of when it required Premdor to

divest the assets represented by CMI in the first place.

       59.     A high degree of concentration facilitates the successful operation of a price-

fixing conspiracy, because it gives competitors transparency into one another’s production




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capabilities and capacity, and makes it easier for competing producers to coordinate their

behavior.

       60.     Because of their high collective market share for interior molded doors and the

fact that they are the only two manufacturers of doorskins in North America, Defendants

collectively are able to and did exercise dominant market power in the interior molded doors

market, including the ability to erect barriers to entry and raise prices.

       2.      The United States Market for Interior Molded Doors is Conducive to
               Collusion Because of the Existence of High Barriers to Entry.

       61.     A collusive arrangement that raises prices above competitive levels would, under

normal circumstances, attract entrants to the market. Where there are significant barriers to entry,

however, entrants are less likely. With regard to interior molded door sales in the United States,

high barriers to entry, especially those artificially erected by Defendants, serve as barriers to

potential entrants into the market.

       62.     As Masonite itself acknowledged in a 2014 investor presentation (excerpted

below), the production of interior molded doors is not easy to replicate and would take a capital

investment of more than $200 million.




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       63.    As another Masonite investor presentation demonstrates, it would take

approximately four years before even a new doorskins (“facings” in the presentation)

manufacturer could enter the market:




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          64.   These high barriers to entry helped facilitate Defendants’ conspiracy, as they

ensured that no new competitors would be able to enter the market to undermine their collusive

prices.

          3.    Price Inelasticity for Interior Molded Doors Makes the Industry Susceptible
                to Collusion.

          65.   When a seller of goods or services can increase prices without suffering a

substantial reduction in demand, pricing is considered inelastic. Price inelasticity facilitates

collusion, allowing producers to raise their prices collectively without triggering customer

substitution and lost sales revenue.

          66.   Pricing for interior molded doors is highly inelastic, in large part because no close

substitutes exist for interior molded doors. Interior doors are a necessity for residential and

commercial buildings, and if an interior door is broken, it must be replaced. Solid wood doors

are not close substitutes for interior molded doors because they are significantly more expensive



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and are typically used only in the most expensive homes. Flat-faced flush doors with hardboard

or veneered facings are not close substitutes for interior molded doors because they are lower in

quality and lack aesthetically pleasing designs, and are therefore less attractive to consumers and

are typically used only in entry-level homes or in utility rooms and garages.

       67.     A hypothetical small but significant increase in the price of interior molded doors

by a cartel would not cause a significant number of purchasers to utilize other materials in lieu of

interior molded doors, nor would such a hypothetical price increase cause so much switching to

other products that the increase would be unprofitable. Historically, changes in the price of

interior molded doors have not had a significant impact on the demand for hardboard or veneered

flush doors.

       68.     Because the price for interior molded doors is highly inelastic, Defendants were

able to and did collectively raise prices to supra-competitive levels without losing revenues.

       4.      Interior Molded Doors Have a High Degree of Interchangeability.

       69.     Both Masonite and Jeld-Wen make very similar versions of many of the interior

molded door models, including the more popular ones, and those interior molded doors do not

differ significantly in quality, appearance or use. As a result, those interior molded door models

are functionally interchangeable.

       70.     When products are interchangeable, the primary way companies can win business

is by competing on price. The avoidance of price-based competition is the primary motivation

for forming a cartel. Thus, cartels are more likely when the participants sell interchangeable

products.

       71.     Interior molded doors are produced and sold in standard dimensions.

       72.     Here, although one Defendant may have offered a style of interior molded door

that was not offered by the other, during the Class Period the majority of interior molded door

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sales were of interior molded door models offered by both Defendants. Because there is little

difference between one manufacturer’s interior molded door and another manufacturer’s, any

difference in price significantly impacts the market.

       73.     Where a product like an interior molded door is interchangeable, economics

suggests that cartel behavior is facilitated because, inter alia, cartel members can more easily

monitor and detect defections from a price-fixing agreement.

       5.      Defendants Have Had Many Opportunities to Collude.

       74.     At least throughout the Class Period, the interior molded door industry has

provided ample opportunities for Defendants to collude and fix the prices of interior molded

doors, through trade association meetings and analyst phone calls.

       75.     Defendants are members of the Window & Door Manufacturers Association (the

“WDMA”), a trade association that has been in existence since 1927, originally known as the

National Door Manufacturers Association. Senior executives from both Jeld-Wen and Masonite

currently serve on the Board of Directors of the WDMA. The WDMA holds a number of annual

meetings that have been attended by Defendants’ representatives, including the Spring Meeting

& Legislative Conference jointly sponsored by the National Lumber & Building Material

Dealers Association, the Executive Management Conference, the National Architectural Door

Conference, and the Technical & Manufacturing Conference.

       76.     Defendants are members of and/or attended meetings organized by other trade

associations as well, including the World Millwork Alliance and the Northeastern Retail Lumber

Association.

       77.     Defendants also attended other trade shows and conventions, such as The

International Builders’ Show, which is organized by the National Association of Home Builders,

which takes place in January or February each year in Orlando or Las Vegas.

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       78.     Masonite and Jeld-Wen are covered by several of the same financial analysts and

executives from both companies attend and make presentations at some of the same annual

investor conferences, such as the J.P. Morgan Homebuilding & Building Products Conference,

the Baird Global Industrial Conference, and the Deutsche Bank Global Industrials and Materials

Summit.

       79.     The opportunities for collusion were enhanced because a number of senior

executives have worked for both Masonite and Jeld-Wen and have close professional

relationships with their former colleagues. The interior molded door industry is a highly inbred,

“good old boy” network that is comprised of the same players who have been working together

since the 1980s. For example, Philip Orsino, who served as Chief Executive Officer and

President of Jeld-Wen from August 2011 to March 2014, previously served as the chief

executive at Masonite and its predecessor entities from 1984 to 2005. After Orsino became CEO

at Jeld-Wen, he brought other former Masonite employees to work at Jeld-Wen. For example,

Matt Maughon, a Vice President of Sales at Masonite under Orsino’s leadership from 1981 to

2007, became a Vice President of Sales at Jeld-Wen in 2011 after he left Masonite. Also, Robert

Merrill, who until recently served as Executive Vice President of Sales & Marketing at Jeld-

Wen, was CEO of CMI when it was acquired by Jeld-Wen and is also a former Masonite

executive.

       80.     Other former Jeld-Wen employees are now employed at Masonite. For example,

Daryl Breymeyer, who was a Regional Sales Manager at Jeld-Wen from 2004 to March 2009

and a Regional Manager at CMI from August 2009 to September 2012, when it was acquired by

Jeld-Wen, is now a Product Sales Manager at Masonite.




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          81.   Through communications with colleagues whom they had known and worked

with for years at competing companies, Masonite and Jeld-Wen shared information about their

intentions to raise prices and the amount of those price increases before they were known to the

public.

          6.    The Residential Door Industry’s History of Collusive Behavior

          82.   The residential door industry for years has been highly concentrated, and there is

a history of antitrust violations by door manufacturers. In the 1990s, the DOJ investigated

collusion in the residential door industry and several door manufacturers, including Defendants’

predecessors and subsidiaries, pled guilty to conspiring to fix the prices of residential doors and

paid substantial fines:

          •     Premdor, the predecessor to Masonite, see ¶¶ 43-50, above, pled guilty and paid a

                $6 million fine.

          •     Michigan Birch Door Manufacturers Inc., a subsidiary of Jeld-Wen, pled guilty

                and agreed to pay a $1.55 million criminal fine.

          •     Illinois Flush Door Inc., which was subsequently acquired by CMI and in turn

                acquired by Jeld-Wen, pled guilty and agreed to pay a $160,000 criminal fine.

          •     LEDCO, Inc., which was subsequently acquired by Masonite, pled guilty and

                agreed to pay a $250,000 criminal fine.

          •     Steves & Sons, Inc. (“Steves”), one of the few residential door manufacturers not

                yet acquired by Jeld-Wen or Masonite, pled guilty and was fined $650,000.

          •     Southwood Door Company of Quitman, Mississippi, pled guilty and was fined

                $25,000.




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C.      The Conspiracy

        83.       Starting at least as early as 2012, Defendants engaged in a conspiracy to raise, fix,

maintain and or stabilize the prices of interior molded doors.

        84.       Since 2012, Jeld-Wen and Masonite have adopted numerous uniform price

increases on interior molded doors. In some instances, Jeld-Weld was the first to announce price

increases for interior molded doors and in some instances, Masonite first announced the price

increase. In all instances, the price increases were quickly followed by an announcement from

the other manufacturer matching the price increase.

        85.       These price increases were larger and in a different form than prior price

increases. Historically, price increases would be in amounts such as 25 cents or $1 per door.

Beginning around 2012, Defendants started increasing prices by percentages.

 Price Increase         Company           Notice Date        Effective Date     Increase Amount

     Early 2013         Jeld-Wen           11/15/2012            2/4/2013              3-5%
                        Masonite            12/6/2012           3/18/2013              3-6%
     Late 2013          Jeld-Wen            8/6/2013            10/7/2013               4%
                        Masonite            8/13/2013           9/30/2013               5%
     Early 2014         Masonite           10/31/2013            2/3/2014               5%
                        Jeld-Wen           11/18/2013           1/27/2014               5%
     Late 2014          Jeld-Wen            6/9/2014            8/11/2014              9.5%
                        Masonite            6/17/2014           8/18/2014               8%
     Early 2015         Masonite            12/1/2014            3/2/2015              5-7%
                        Jeld-Wen            12/3/2014            3/2/2015              5-6%
     Early 2016         Masonite           10/26/2015            2/1/2016              3-5%
                        Jeld-Wen           10/28/2015            2/1/2016              3-5%
     Early 2017         Masonite            10/4/2016            1/1/2017              5-7%
                        Jeld-Wen           10/18/2016            1/3/2017               5%
     Mid 2018           Jeld-Wen            3/6/2018             5/7/2018               6%
                        Masonite             3/2018              6/1/2018               6%
     Late 2018          Jeld-Wen            10/8/2018          12/17/2018               7%
                        Masonite            10/8/2018          12/15/2018              7-9%




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       86.     In a 2016 annual report, Jeld-Wen discussed a new pricing strategy that it began

to implement in 2014, shifting from an old strategy that often led to competing on price to a new

strategy emphasizing pricing optimization. A shift in pricing policy from increasing market share

to increasing unit profits is consistent with conspiratorial pricing behavior.

       87.     Defendants’ price increases alleged herein cannot rationally be explained by

normal market forces, such as key input costs or supply and demand factors. Those price

increases have outpaced any increase to Defendants’ raw material and other costs. Further, at

least from 2012 to 2015, the capacity utilization rate for manufacturing doorskins, the largest

input cost (up to 70%) of manufacturing an interior molded door, was in the range of 60% to

70%.

       88.     Prior to the Class Period, Masonite did not have a centralized pricing department,

as its sales representatives made most of the pricing decisions. In 2011 or 2012, pricing decisions

at Masonite became centralized, with price increases set at the corporate level on a nationwide

basis. Around the same time, Masonite started to enjoy a noticeable increase in its profit margins.

       89.     A Masonite sales director was tasked with using internal software to run pricing

scenarios based on market factors, such as the price of raw materials, transportation costs, and

expected demand. When the sales director presented price increases based on market data, he

suggested hikes that his analyses indicated the market could sustain. His proposed price increases

were presented to senior executives and the Board of Directors, who made the ultimate decision

as to the amount of the increase. Instead of relying on the sales director’s analyses, the ultimate

price increases implemented were at times substantially higher than what the sales director

believed a competitive market would support based on the data he analyzed.




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       90.    Pricing decisions at Masonite were often made after a Vice President of Strategic

Initiatives, who had significant influence with upper management and participated in the

company’s pricing discussions, returned from days or weeks of travel and had obtained

information about Jeld-Wen’s intended price increases. Masonite employees knew Jeld-Wen’s

price increases before they were publicly announced.

       91.    During the relevant time period, Masonite never undercut Jeld-Wen’s pricing for

interior molded doors, even if Masonite’s profit margin could have withstood a lower sale price

to take more market share.

       92.    Defendants’ ability to raise prices has been facilitated by their refusal to provide

doorskins to third-party manufacturers, as evidenced by the fact that Defendants imposed the

largest of these increases in 2014, after Masonite abruptly stopped selling doorskins to third-

party, independent interior molded door manufacturers.

       93.    Prior to Jeld-Wen’s acquisition of CMI in 2012, Masonite, CMI, and Jeld-Wen

each aggressively competed in the sale of doorskins to smaller, independent, non-integrated door

manufacturers, such as Steves (the entity that sued Jeld-Wen, see ¶¶ 103-108, infra), Lynden

Door Inc., Haley Bros., Unidoor Corporation, Excel Interior Door, and ABS.

       94.    In seeking regulatory approval of the CMI acquisition, Jeld-Wen tried to assuage

concerns held by these independent door manufacturers and the DOJ that the acquisition would

hurt competition in the doorskin market. It did so by entering into long-term supply agreements

with several of these independent door manufacturers. As a result of these supply agreements

and Jeld-Wen’s representations concerning the continued supply of doorskins, the DOJ did not

challenge Jeld-Wen’s acquisition of CMI.




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       95.     The marketplace began to change in 2014 when, in furtherance of the conspiracy,

Masonite announced during an investor presentation on June 25, 2014 that it would no longer

supply doorskins to third parties:

       Only Masonite and JELD-WEN service the entire North American market. And
       other door assembly companies are smaller and much more regionally focused. And
       importantly, the other smaller. . . door assembly manufacturers have to get their
       facing [i.e., doorskins] from somebody else. They're not vertically integrated in
       their facings. And we, at Masonite, have determined that we will not sell our facings
       into—to competition. So, that only leaves one other outlet for them to get their
       facings from in North America. (emphasis added).

       96.     In its statement, Masonite offered no explanation for why it was exiting the

doorskins market. But Masonite’s statement that its exit would leave only one other outlet, Jeld-

Wen, from which independent door manufacturers could purchase doorskins in North America

makes no sense unless viewed as an explicit acknowledgment to its co-conspirator Jeld-Wen that

Masonite was ceding the entire doorskins market to Jeld-Wen.

       97.     Jeld-Wen clearly understood Masonite’s acknowledgment, as indicated by Jeld-

Wen’s Kirk Hachigian sending the Masonite announcement to Steves, a smaller, independent

door manufacturer that purchased doorskins from Jeld-Wen. At the time, Mr. Hachigian

simultaneously served as CEO and Chairman of the Board of both JELD-WEN Holding, Inc. and

JELD-WEN, Inc. The announcement was sent in connection with an effort to force Steves to pay

more for doorskins than the price set out in Steves’ supply contract with Jeld-Wen. When Steves

refused, Jeld-Wen notified Steves it would terminate that contract.

       98.     Masonite’s refusal to sell doorskins to other door manufacturers is against

Masonite’s economic self-interest, absent a conspiracy with Jeld-Wen. Since doorskins are the

primary component of interior molded doors, a manufacturer’s ability to control the doorskin

market directly impacts the interior molded door market. By exiting the doorskin market,




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Masonite gave Jeld-Wen monopoly power within the (non-captive use) doorskin market. Jeld-

Wen was then able to use this power in the doorskin market to entirely control a major cost input

for the non-vertically integrated, i.e., independent, door manufacturers.

       99.     In effect, without competition from Masonite, Jeld-Wen has had the ability to

price doorskins to door manufacturers at a level whereby Jeld-Wen can extract all the profits for

the sale of the door. It was not in Masonite’s economic self-interest to simply gift Jeld-Wen the

entire non-captive use doorskin market, foregoing the doorskin revenue that Masonite would

have earned from the non-vertically integrated door manufacturers that make up around 15% of

the interior molded door market. Masonite has excess capacity in its doorskin production

facilities, and, due to the significant upfront and fixed costs of doorskin manufacturing plants,

would be incentivized to increase sales in order to maximize production and revenue from

doorskins.

       100.    Masonite’s exit from the doorskins market is even more suspicious given that

Jeld-Wen, its only real competitor, was experiencing pronounced and protracted quality control

issues with its doorskins. It is implausible that, absent an anti-competitive agreement with Jeld-

Wen, Masonite would exit a market it would have been poised to dominate given its largest (and

only) competitor’s quality control issues.

       101.    Jeld-Wen has, in fact, utilized its dominant position in the doorskin market,

facilitated by its acquisition of CMI and its agreement with Masonite, to harm independent door

manufacturers. Contrary to its representations to the DOJ as to the competitive significance of its

long-term supply relationships with third-party door manufacturers, Jeld-Wen’s relationship with

those independent manufacturers has been extremely contentious, particularly after Masonite’s

departure from the doorskin market.




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       102.    Notwithstanding that its key input costs for raw materials (wood, resin, wax, oil,

and sealer; paint; and packaging) and for energy (electric power prices, natural gas prices, and

boiler fuel) decreased every year, Jeld-Wen substantially increased the prices it charged

independent door manufacturers for doorskins. Jeld-Wen also changed the way it dealt with

doorskin defects and limited reimbursements for those defects.

       103.    Faced with these difficulties in sourcing doorskins, thereby undermining its

ability to compete in the interior molded door market, in 2016, Steves, a smaller, independent

door manufacturer that purchased doorskins from Jeld-Wen, filed a complaint against Jeld-Wen

alleging that Jeld-Wen’s 2012 acquisition of CMI harmed competition, violating section 7 of the

Clayton Act. Steves and Jeld-Wen had a long-term supply agreement, but Jeld-Wen sent a notice

of termination in September 2014, effective September 2021. In 2018, a jury found in favor of

Steves and awarded more than $58 million in antitrust damages (more than $175 million after

trebling under the Clayton Act), as well as $12 million for breach of contract. See Steves & Sons,

Inc. v. JELD-WEN, Inc., Civ. No. 3:16-cv-545 (E.D. Va.).

       104.    Steves’ complaint alleged details regarding Mr. Hachigian’s active role in Jeld-

Wen’s anticompetitive conduct, during the period in which he simultaneously served as CEO and

Chairman of the Board of both JELD-WEN Holding, Inc. and JELD-WEN, Inc.:

        On April 21, 2014, one month after Hachigian became JELD-WEN's President and
       CEO, the parties met to discuss certain issues that had arisen in connection with their
       business dealings. At that meeting, and in a letter the next day, JELD-WEN demanded
       “better defined pricing mechanics,” even though the pricing had been fixed by
       [REDACTED] the Supply Agreement. Compl. (ECF 1) ¶ 159.

Steve’s subsequently alleged that discovery it took in that case revealed that Mr. Hachigian

repeatedly showed contempt for Jeld-Wen’s customers, including instances in which he was

communicating directly with their representatives.




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       105.    In an October 5, 2018 post-trial opinion ordering Jeld-Wen to divest CMI, Judge

Payne stated the following:

       Here, as the jury found, and the record shows, the merger substantially reduced
       competition in the doorskin industry. Less than two years after the merger reduced the
       number of suppliers from three to two, one of those suppliers essentially withdrew from
       the market, thereby depriving the Independents [non-vertically integrated door
       manufacturers] of that key component of a reliable supply source.

       . . . Although the Court could solve Steves’ supply problem by ordering JELD-WEN to
       supply Steves’ requirements for a long term, that alternate remedy would not restore
       competition in the industry as a whole. And, the record proves that the lessened
       competition has adversely affected the Independents [non-vertically integrated door
       manufacturers] other than Steves. So simply securing a long-term supply for Steves
       would not aid those manufacturers.

Steves & Sons, Inc. v. JELD-WEN, Inc., Civ. No. 3:16-cv-545, 2018 WL 4855459, at *38 (E.D.

Va. Oct. 5, 2018) (emphasis added).

       106.    Jeld-Wen was able to engage in such conduct because of the lack of any

alternative supply for doorskins in the U.S. market.

       107.    When threatened with the loss of doorskins from Jeld-Wen, Steves sought but was

unable to find any alternative source of supply. It approached Masonite, but Masonite refused to

enter into a long-term supply agreement and would only sell to Steves on a spot basis. Worse,

Masonite would only do so at prices 37% higher than the prices Jeld-Wen charged under its

supply agreement with Steves. This was a shift from Masonite’s prior willingness to sell

doorskins to Steves, before its 2014 announcement that it would stop selling doorskins to

independent door manufacturers. Previously, Steves was able to purchase millions of doorskins

from Masonite from 2006 until 2012, when Steves entered into its supply relationships with Jeld-

Wen. Also in 2012, Masonite had offered to enter into a long-term supply relationship with

Steves prior to Steves entering into such a relationship with Jeld-Wen.




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       108.    Steves also explored sourcing its doorskins from foreign suppliers but was unable

to fulfill its doorskin requirements from those suppliers. Those foreign suppliers only offered a

limited number of doorskin designs and sizes and also had serious quality deficiencies.

       109.    This conduct has undermined the ability of independent door manufacturers to

compete with Defendants in the sale of interior molded doors, enabling Defendants to impose

numerous matching anticompetitive price increases on the Class members.

D.     JELD-WEN, Inc. is the Alter Ego of JELD-WEN Holding, Inc.

       110.    During the time period relevant to Plaintiffs’ claims, JELD-WEN Holding, Inc.

participated in the conspiracy by and through JELD-WEN, Inc., which acted as JELD-WEN

Holding, Inc.’s alter ego or agent. JELD-WEN Holding, Inc. dominated or controlled JELD-

WEN, Inc.’s business as reflected by, among other things: (1) the two companies’ virtually

complete overlap of senior officers; (2) the companies’ maintenance of the same principal office

address (see supra ¶¶ 18-19); (3) repeated instances in which Jeld-Wen officers have publicly

treated the two companies as one and the same; and (4) JELD-WEN, Inc.’s conduct of JELD-

WEN Holding, Inc.’s business.

       111.    On February 28, 2017, JELD-WEN Holding, Inc. applied to the North Carolina

Secretary of State for a certificate of authority (“JWHI Application”). Ten days later, on March

10, 2017, JELD-WEN, Inc. filed its 2016 annual report with the same authority (“JWI 2016

Report”). The two submissions identified certain officers of the respective companies as follows:




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              Officers                  JWI 2016 Report               JWHI Application
                                                                  Director and Chairman of
     Kirk Hachigian                Chairman
                                                                  the Board
     L. Brooks Mallard             CFO                            Executive VP and CFO
     Brian Luke                    Treasurer                      Treasurer
     Rebekah Toton                 Secretary                      Corporate Secretary
                                                                  Senior VP and Chief
     Scott Vining                  Chief Accounting Officer
                                                                  Accounting Officer
                                                                  Executive VP, and Chief
     Laura Doerre                  General Counsel
                                                                  Compliance Officer
     Timothy Craven                VP                             Executive VP
                                                                  Senior VP and Assistant
     John Linker                   VP
                                                                  Secretary
                                                                  Director, President, and
     Mark Beck
                                   President                      CEO
     John Dinger                   VP                             Executive VP
     Peter Farmakis                VP                             Executive VP
     Peter Maxwell                 VP                             Executive VP
     Robert Merrill                VP                             Executive VP


       112.   In a subsequent submission to the North Carolina Secretary of State, JELD-WEN

Holding, Inc. stated that “the majority of our operating income is derived from [JELD-WEN,

Inc.].” A JELD-WEN Holding, Inc. submission to the Securities and Exchange Commission

refers to JELD-WEN, Inc.’s website as its own.

       113.   In its 2017 Annual Report, JELD-WEN Holding, Inc. reported the following:

       JELD-WEN Holding, Inc., (the “Parent Company”) (a Delaware corporation) was
       formed by Onex Partners III LP to effect the acquisition of JELD-WEN, Inc. and
       had no activities prior to the acquisition of JELD-WEN, Inc. on October 3, 2011.
       The Parent Company is a holding company with no material operations of its own
       that conducts substantially all of its activities through its direct subsidiary, JELD-
       WEN, Inc. and its subsidiaries.


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          114.   An October 3, 2011 Jeld-Wen press release detailed Onex Group’s acquisition of

“JELD-WEN Holding, Inc., one of the world’s largest residential door and window

manufacturers.” (emphasis added). It also referred readers to Teri Cline, the Communications

Director for JELD-WEN, Inc. More recently, during JELD-WEN Holding, Inc.’s earnings call

for the third quarter of 2018, its CEO Gary Michel referred to “our history, back to 1960.” An

earlier SEC submission by JELD-WEN Holding, Inc. reflects that “JELD-WEN, Inc. was

initially incorporated as an Oregon corporation in 1960 and JELD-WEN Holding, Inc. was

initially incorporated as an Oregon corporation in 1999.”

          115.   JELD-WEN Holding, Inc. attached to another SEC submission a Management

Employment Agreement between only JELD-WEN, Inc. and Mr. Hachigian. That agreement

required JELD-WEN Holding, Inc. to grant Mr. Hachigian 78,000 options. A subsequent

agreement between only JELD-WEN, Inc. and L. Brooks Mallard (the CFO of both companies)

likewise required JELD-WEN Holding, Inc. to grant Mr. Mallard a certain number of options.

                      VII.   VIOLATIONS OF THE ANTITRUST LAWS

          116.   Beginning in at least 2012 and continuing through the present, Defendants have

engaged in a continuing agreement, understanding, and conspiracy in restraint of trade to

artificially raise, fix, maintain, or stabilize the prices of interior molded doors in the United

States.

          117.   Defendants engaged in anticompetitive activities, the purpose and effect of which

were to artificially raise, fix, maintain, or stabilize the price of interior molded doors sold in the

United States. These activities included:




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               (a)       participation in meetings, conversations, and communications to discuss

               the price and pricing terms for the sale of interior molded doors in the United

               States;

               (b)       agreement during those meetings, conversations, and communications to

               raise prices and to otherwise fix, raise, maintain, or stabilize prices for interior

               molded doors sold in the United States; and

               (c)       taking numerous steps, as set forth above, to implement and maintain the

               conspiracy.

       118.    Defendants and their co-conspirators engaged in the activities described above for

the purpose of effectuating the unlawful agreements described in this Complaint.

       119.    Throughout the Class Period, Plaintiffs and the other Class members purchased

interior molded doors from Defendants (or their subsidiaries or controlled affiliates) at supra-

competitive prices.

       120.    Defendants’ contract, combination or conspiracy constitutes an unreasonable

restraint of interstate trade and commerce in violation of Section 1 of the Sherman Act, 15

U.S.C. § 1.

                            VIII. FRAUDULENT CONCEALMENT
                           TOLLED THE STATUTE OF LIMITATIONS

       121.    Plaintiffs and Class members had neither actual nor constructive knowledge of the

facts constituting their claims for relief. Plaintiffs and Class members were unaware of

Defendants’ conspiracy, or of facts sufficient to place them on notice of the conspiracy or the

claims set forth herein.

       122.    In fact, Defendants have publicly stated that they have policies in place to ensure

compliance with federal and state laws.


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      123.   Masonite’s publicly available antitrust compliance policy provides:

             Fair trade and competition laws – often referred to as “antitrust
             laws” – vary from country to country and, in some cases, even
             within a single country depending on the jurisdiction.

             As a general rule, these laws:

             •   Prohibit agreements or understandings between competitors
                 that undermine competition;

             •   Regulate the behavior of dominant companies; and

             •   Require prior review and in some instances clearance for
                 mergers, acquisitions and certain other transactions, in order to
                 prevent transactions that would substantially reduce
                 competition.

             Every country where Masonite does business has some form of fair
             trade, competition, or antitrust law. Thus, you should be fully
             familiar with Masonite’s Antitrust Policy as it applies to where you
             do business. If you have any doubt about whether a practice is
             legal or permitted under Masonite’s policies, you should contact
             the Legal Department immediately.

             II. OUR POLICY

             •   Never enter into an agreement or an understanding with a
                 competitor, or a group of competitors, about any aspect of
                 Masonite’s business without the approval of the Legal
                 Department. Many, if not most, agreements with a competitor
                 are criminal offenses that can result in large fines and prison
                 terms.

             •   Do not ever agree with a competitor about: (1) Masonite’s
                 prices or terms and conditions of sale; (2) which customers
                 Masonite will or will not sell to, or in what geographic areas it
                 will sell or not sell; or (3) the price that Masonite will bid or
                 offer to a customer or class of customers. These agreements are
                 always illegal, and will result in your immediate dismissal. . . .

Masonite Values Operating Guide.

      124.   Jeld-Wen’s publicly available antitrust compliance policy states:

             Business activities must be conducted in accordance with
             applicable antitrust and competition laws. Some of the most


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               serious antitrust offenses are agreements between competitors that
               limit independent judgment and restrain trade, such as agreements
               to fix pricing, or to divide a market for customers, territories,
               products or purchases. Any communication with a competitor’s
               representative, no matter how innocent it may seem at the time,
               may later be subject to legal scrutiny and form the basis for
               accusations of improper or illegal conduct. Directors, officers and
               employees should avoid situations from which an unlawful
               agreement could be inferred. By bringing competitors together,
               trade associations can raise antitrust concerns, even though such
               groups serve many legitimate goals. The exchange of sensitive
               information with competitors regarding topics such as pricing or
               billing practices can potentially violate antitrust and competition
               laws and should be avoided.

Jeld-Wen Code of Business Conduct and Ethics (2017).

       125.    Defendants and their co-conspirators affirmatively and wrongfully concealed their

anticompetitive conduct from Plaintiffs and the Class from at least October 24, 2012 through at

least June 29, 2016, when residential door manufacturer Steves filed its Complaint for Injunctive

and Declaratory Relief, Damages, and Specific Performance against Jeld-Wen, for the first time

publicly disclosing facts pertaining to Defendants’ alleged anticompetitive conduct and illegal

scheme, particularly Jeld-Wen’s use of Masonite’s announcement that it was leaving the

doorskins market, which was against Masonite’s own interests, as leverage to get Steves to pay

more for doorskins (see ¶¶ 95-100, supra). Before Steves’ June 29, 2016 complaint, Plaintiffs

and the Class did not learn or discover the operative facts giving rise to their claims, despite due

diligence. Thus, Defendants’ fraudulent concealment tolled the statute of limitations through at

least June 29, 2016.

A.     Active Concealment of the Conspiracy

       126.    Defendants engaged in an illegal scheme to fix prices in violation of the federal

antitrust laws. Criminal and civil penalties for engaging in such conduct are severe. Not

surprisingly, Defendants took affirmative measures to conceal their conspiratorial conduct.



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        127.    Defendants provided their customers for interior molded doors with pretextual

justifications for price increases in the letters they sent announcing those price increases. For

example, Defendants attributed the need for price increases on rising input costs, when in fact the

cost of raw materials and energy was decreasing. Plaintiffs and the Class had no knowledge that

these justifications were pretextual, at least until it was disclosed in the litigation between Jeld-

Wen and Steves that Jeld-Wen’s input costs were actually decreasing.

        128.    Through their misleading, deceptive, false and fraudulent statements and material

omissions, Defendants effectively concealed their conspiracy from Plaintiffs and the Class.

Defendants’ misrepresentations regarding their price changes were intended to lull Plaintiffs and

the Class into accepting the price hikes as a normal result of competitive and economic market

trends, rather than the consequences of Defendants’ collusive acts. The public statements made

by Defendants were designed to mislead Plaintiffs and the Class into paying unjustifiably higher

prices for interior molded doors.

        129.    These false statements and others made by Defendants helped conceal

Defendants’ illegal conspiracy to fix, stabilize, maintain and raise the price of interior molded

doors to artificially inflated levels.

B.      Plaintiffs Exercised Reasonable Diligence.

        130.    Defendants’ anticompetitive conspiracy, by its very nature, was self-concealing.

Plaintiffs and members of the Class received pricing information from Defendants, and Plaintiffs

reasonably considered the market for interior molded doors to be competitive. Jeld-Wen’s

October 24, 2012 acquisition of CMI consolidated the doorskins market, thereby contributing to

further consolidation in the interior molded doors market. Price increases following industry

consolidation are not unexpected due to limited competition, and thus, Plaintiffs and the Class

had no reason to suspect anything other than that Defendants’ price increases on interior molded

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doors were merely a consequence of further consolidation in the doorskins and the interior

molded doors markets. While interdependent price increases are not unlawful, coordination of

pricing and price increases among competitors is. Plaintiffs and the Class had no reason to

investigate, and no way to know that these prices were higher than they should have been due to

the conspiracy and the unlawful anticompetitive conduct alleged herein before June 29, 2016.

          131.   A reasonable person under the circumstances could also not have been alerted to

the harm stemming from Jeld-Wen’s acquisition of CMI until Steves’ June 29, 2016 complaint.

Accordingly, Plaintiffs and Class members under the circumstances would not have been alerted

to investigate the legitimacy of Defendants’ pricing and price increases before Steves’ June 29,

2016 complaint, particularly in light of the DOJ’s approval of the acquisition.

          132.   Because of Defendants’ concealment of their illicit conduct, Plaintiffs and the

Class could not have discovered the conspiracy at an earlier date by the exercise of reasonable

diligence.

          133.   Therefore, the running of any statutes of limitations has been tolled for all claims

alleged by Plaintiffs and the Class as a result of Defendants’ anticompetitive and unlawful

conduct. Despite the exercise of reasonable diligence, Plaintiffs and the other members of the

Class were unaware of Defendants’ unlawful conduct and did not know they were paying supra-

competitive prices for interior molded doors throughout the United States during the Class

Period.

          134.   For these reasons, Plaintiffs claims are timely under the federal laws identified

herein.




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                                 IX.   ANTI-COMPETITIVE EFFECTS

       135.        As a result of Defendants’ unlawful conduct, Plaintiffs and the other Class

members have been injured in their business and property because they have paid more for

interior molded doors than they would have paid absent the collusion and unlawful acquisition.

       136.        Defendants’ unlawful contract, combination, or conspiracy has had at least the

following effects:

                   (a)    price competition in the interior molded doors market has been artificially

                   restrained;

                   (b)    prices for interior molded doors sold by Defendants have been raised,

                   fixed, maintained, or stabilized at supra-competitive levels; and

                   (c)    purchasers of interior molded doors from Defendants have been deprived

                   of the benefit of free and open competition in the interior molded doors market.

              X.         PLAINTIFFS AND THE CLASS AGAINST DEFENDANTS
                            Violations of The Sherman Act, 15 U.S.C. § 1

       137.        Plaintiffs incorporate and re-allege each allegation set forth in the preceding

paragraphs of this Complaint.

       138.        Beginning in at least 2012, and continuing thereafter to the present, Defendants,

by and through their officers, directors, employees, agents, or other representatives, have

engaged in a continuing agreement, understanding, and conspiracy in restraint of trade to

artificially raise, fix, maintain, or stabilize the prices of interior molded doors in the United

States in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       139.        Plaintiffs and the other Class members have been injured in their business and

property by reason of Defendants’ unlawful combination, contract, conspiracy, and agreement.

Plaintiffs and Class members have paid more for interior molded doors than they otherwise


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would have paid in the absence of Defendants’ conduct. This injury is of the type the federal

antitrust laws were designed to prevent and flows from that which makes Defendants’ conduct

unlawful.

       140.    Accordingly, Plaintiffs and Class members seek damages, to be trebled pursuant

to federal antitrust law, and costs of suit, including reasonable attorneys’ fees.

                                     PRAYER FOR RELIEF

       Wherefore, Plaintiffs demand judgment against Defendants as follows:

               a.      Declaring this action to be a proper class action pursuant to Rule 23(b)(3)

                       of the Federal Rules of Civil Procedure on behalf of the Class as defined

                       herein;

               b.      That the contract, combination, or conspiracy, and the acts done in

                       furtherance thereof by Defendants, be adjudged to have violated Section 1

                       of the Sherman Act, 15 U.S.C. § 1;

               c.      That judgment be entered for Plaintiffs and the Class against Defendants

                       for three times the amount of damages sustained by Plaintiffs and the

                       Class as allowed by law;

               d.      That Plaintiffs and the Class recover pre-judgment and post-judgment

                       interest as permitted by law;

               e.      That Plaintiffs and the Class recover their costs of the suit, including

                       attorneys’ fees, as provided by law; and

               f.      For such other and further relief as is just and proper under the

                       circumstances.




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                                    DEMAND FOR JURY TRIAL

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand a jury

trial as to all issues triable by a jury.


Dated: April 10, 2019                           /s/ Wyatt B. Durrette, Jr.
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on April 10, 2019, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will automatically e-mail notification of such

filing to all counsel of record.

        To the best of my knowledge, there are no other attorneys or parties who require service

by U.S. Mail.


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